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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 18-0740V
                                       Filed: April 11, 2019
                                          UNPUBLISHED


    STACI MCTEIGUE,

                         Petitioner,                          Special Processing Unit (SPU);
    v.                                                        Ruling on Entitlement; Concession;
                                                              Table Injury; Influenza (Flu) Vaccine;
    SECRETARY OF HEALTH AND                                   Shoulder Injury Related to Vaccine
    HUMAN SERVICES,                                           Administration (SIRVA)

                        Respondent.


Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.
Julia Marter Collison, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

       On May 24, 2018, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza vaccine received on November 15,
2016. Petition at 1. The case was assigned to the Special Processing Unit of the Office
of Special Masters.




1The undersigned intends to post this ruling on the United States Court of Federal Claims' website. This
means the ruling will be available to anyone with access to the internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this
case, undersigned is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management
and Promotion of Electronic Government Services).
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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        On April 10, 2019, respondent filed his Rule 4(c) report in which he concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Respondent agrees that petitioner has satisfied the criteria set forth in the Vaccine
Injury Table and the Qualifications and Aids to Interpretation. Id. at 3-4. Specifically,
respondent agrees that petitioner had no history of pain, inflammation, or dysfunction in
her left shoulder; her pain and reduced range of motion occurred within 48 hours of an
intramuscular vaccination; and no other condition or abnormality was identified to
explain her symptoms. Id.

     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master
